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                       U N ITED STATES D ISTR ICT CO U R T
                       SOU TH ERN D ISTRICT O F FLO RIDA

                     Case N o.19-M C-2.
                                      3253-W 1LLIAM S/TORRES


   IN RE:APPLICA TION O F
   M AIGU ALIDA NARA NJO BARRIO S
   FOR FO REIGN D ISCOVERY ASSISTW N CE
   PURSUANT TO 28 U.S.C.j 1782,


              O R D ER O N TH E A PPLICAN T'S M O TIO N TO U N SEAL

         This m atter is before the Clourt on M aigualida Naranjo Barrios's (the
   dtApplicanf')m otion to unsealthiscase.TheApplicantfiled thisaction on August5,
   2019 (D.E.1)fordiscovery assistance pursuantto 28 U.S.C.j 1782. TheApplicant
   seeks authority to issue subpoenas against Banesco U SA , Sunrrrust B ank, Sun

   Trust Banks, Inc.M iura Investm ent Advisors, lnc. f/k/a M ultiplicas Investm ent

   Advisors, lnc., M ultiplicas lnvestrnents Ltd., M W M     Investm ents Ltd., Italo

   D'Alfonso,Hugo Ortega,and M ario G.Ovalles (collectively,the d'Respondents'')in

   supportoflegalproceedings in Venezuela.

         On Septem ber 18,2019,the Applicant effectuated personal service on the

   Respondents and requests that this action be unsealed now that the Respondents

   are apprised ofthe application for foreign assistance. After carefulconsideration of

   the m otion and the record presented,the Applicant's m otion is G RA N TED for good

   cause shown, and the Clerk is directed to unseal this m atter for a11 further

   proceedings.


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         D O NE A N D OR D E RED in Cham bers at M iam i,Florida,this 30th day of

   October,2019.

                                              /s/Edwin G.Torres
                                              EDW IN G .TORRES
                                              U nited StatesM agistrate Judge




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